Case 8:19-cv-00676-SB-KES Document 154 Filed 11/10/21 Page1of1 Page ID #:1709

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

Case No.: 8:19-cv-00676-SB-KES Date: 11/10/2021

 

Title: _Crorama, Inc. v. Jannette Dominguez et al.

 

 

Present: The Honorable STANLEY BLUMENFELD, JR., U.S. District Judge

 

Victor Cruz N/A
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Appearing None Appearing

Proceedings: [In Chambers] ORDER TO SHOW CAUSE RE: SANCTIONS

On October 15, 2021, the parties appeared before the Court for a Pretrial
Conference (PTC). The PTC was continued to November 19, 2021, and the parties
were ordered to submit pretrial filings consistent with the Court’s Trial and PTC
Order. Dkt. No. 152. In advance of the continued PTC, the parties have failed to
timely submit the first two rounds of pretrial filings due on October 22, 2021 and
November 5, 2021, respectively.

IT IS HEREBY ORDERED that the parties are to show cause at a hearing
on November 19, 2021 why they and/or their counsel should not be sanctioned for
failing to timely submit their pretrial filings as previously ordered, including
monetary sanctions and striking their respective operative pleadings resulting in
dismissal or default. The parties shall each file written responses to this OSC by
no later than November 15, 2021.

IT IS SO ORDERED.

CV-90 (12/02) CIVIL MINUTES —- GENERAL Initials of Deputy Clerk VPC

1
